391 F.2d 605
    Sylvester SMITH, Appellant,v.UNITED STATES of America, Appellee.Marian GRAY, Appellant,v.UNITED STATES of America, Appellee.
    No. 18926.
    No. 18927.
    United States Court of Appeals Eighth Circuit.
    March 26, 1968.
    
      James A. Bell, for Marian Gray.
      Ellis S. Outlaw, St. Louis, Mo., for appellants.
      Veryl L. Riddle, U. S. Atty., and William C. Martin, Asst. U. S. Atty., St. Louis, Mo., for appellee.
      Before MATTHES, GIBSON and HEANEY, Circuit Judges.
      PER CURIAM.
    
    
      1
      In this case tried to the court without a jury appellant Gray was found guilty, as charged, of purchasing and selling heroin on two occasions; appellant Smith was found guilty, as charged, of purchasing and selling heroin on one occasion. United States v. Gray, 271 F.Supp. 649 (E.D.Mo.1967).
    
    
      2
      Appellant Gray contends the evidence established entrapment as a matter of law, and that she acted merely as an agent in procuring the heroin. Smith challenges the sufficiency of the evidence to sustain his conviction. He also asserts that he was improperly cross-examined.
    
    
      3
      Upon full review of the evidence we find no merit in any of the assignments of error. The district court has accurately stated the facts. Its findings are supported by substantial evidence. Its rulings during the trial were not prejudicial. Finally, the court properly applied the controlling law in deciding the case.
    
    
      4
      The judgments are affirmed.
    
    